          Case 22-60043 Document 285 Filed in TXSB on 11/21/22 Page 1 of 5




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 In re:                                                §
                                                       §
 FREE SPEECH SYSTEMS, LLC                              §
                                                       §    Case No. 22-60043-11
                                Debtor                 §        (Subchapter V)


               SUBCHAPTER V TRUSTEE’S SECOND INTERIM STATUS REPORT

TO THE HONORABLE CHRISTOPHER M. LOPEZ, U.S. BANKRUPTCY JUDGE:

          NOW COMES, MELISSA A. HASELDEN, Subchapter V Trustee (“Trustee”) in the

above-referenced bankruptcy proceeding, and files this Subchapter V Trustee’s Second Interim

Status Report, and would respectfully show the Court as follows:

                                                I.
                                            BACKGROUND

          1.      Debtor commenced this bankruptcy case by filing a voluntary petition under chapter

11 of title 11 of the United States Code (the “Bankruptcy Code”) and electing to proceed under

subchapter V of chapter 11 on July 29, 2022 (the “Petition Date”).

          2.      On August 2, 2022, the Office of the United States Trustee for Region 7 appointed

Melissa A. Haselden as the Trustee in this case [Dkt. No. 22].

          3.      On September 20, 2022, the Court entered its Order Expanding Subchapter V

Trustee’s Duties under 11 U.S.C. §1183(b)(2) and requiring Trustee to file a report pursuant to 11

U.S.C. §1106(a)(3) & (4) (“Trustee Order”) [Docket #183].




Status Report
34580318v.1
        Case 22-60043 Document 285 Filed in TXSB on 11/21/22 Page 2 of 5




                                                   II.

                                            STATUS UPDATE

        4.       Since the entry of the Trustee Order, Trustee begun certain investigatory steps

required by the Court which are preliminarily outlined in Trustee First Interim Status Report (Doc.

No. 227) and worked with the Debtor to effectuate the following:

              a. Received approval to engage counsel for Trustee to assist with Trustee’s duties (Doc.
                 No. 265).

              b. Collaborate with counsel for the Debtor to engage CRO, whose employment was
                 approved by the Court on October 13, 2022 (Doc. No. 239).

              c. Finalize engagement of financial adviser to Trustee and seek approval of employment
                 of the same (Doc. No. 282).,

              d. Trustee and her counsel met with:
                    i.  FSS owner, Alex Jones and his counsel,
                   ii.  Mark Schwartz and counsel and previously proposed counsel for the Debtor;
                 iii.   Dr. David Jones, a principal of PQPR and its counsel and accountant,
                  iv.   FSS’ CRO,
                   v.   Patrick Riley, principal of Blue Ascension;
                  vi.   Anthony Gucciardi, principal of the terminated credit card processor;
                 vii.   Certain parties selling items through the FSS website;
                viii.   the principal of the new proposed processor and fulfillment consultant and his
                        counsel; and
                  ix.   and various employees of FSS to continue to identify cost savings measures
                        and correct operational issues.

              e. Work with CRO and Debtor’s counsel to finalize new inventory and fulfillment
                 agreement with non-related, third-party provider which is anticipated to provide
                 significant cost savings to the Debtor.

              f. Work with CRO and Debtor’s counsel to finalize a new credit card processing
                 agreement with a non-related third-party provider which will result in significant cost
                 savings for credit card transactions.



                                                    2

34580318v.1
        Case 22-60043 Document 285 Filed in TXSB on 11/21/22 Page 3 of 5




              g. Trustee, through counsel, has negotiated with the Debtor and primary constituents in
                 this case to facilitate a mediation of disputes in this case and obtained Court approval
                 to proceed with a mediation with Judge Marvin Isgur (Doc. No. 233).

              h. Trustee’s counsel worked with Judge Isgur and the parties to the mediation to begin
                 initial pre-mediation steps.

              i. Trustee has begun reviewing financial information from the Debtor with the
                 assistance of M3. Evaluation of Bitcoin donations and utilization of the funds are
                 included in that investigation.

              j. Trustee, through counsel, propounded discovery on various parties. The Trustee has
                 received information from the following parties:

                          i.     FSS;
                         ii.     PQPR;
                        iii.     Alex Jones;
                        iv.      Auriam; and
                         v.      Blue Ascension.

                  Additional documents are anticipated from several of these parties. The Trustee
                  reserves the ability to seek to compel production by seeking relief with from Court.

              k. Trustee continues to work with CRO to address operational issues, including
                 fulfillment and staffing. Further, the Debtor through the CRO is continuing to
                 provide information to M3 to assist in the investigation as well as operational
                 improvements.

              l. The Trustee has identified a number of potential claims and causes of actions.
                 Certain of these are expected to be the subject of the mediation. The Trustee has not
                 become aware of any ongoing activity which would give rise to new claims of the
                 Debtor.




                                                     3

34580318v.1
        Case 22-60043 Document 285 Filed in TXSB on 11/21/22 Page 4 of 5




                                           Respectfully Submitted,

                                           HASELDEN FARROW PLLC

                                           /s/ Melissa A. Haselden
                                           Melissa A. Haselden
                                           State Bar No. 00794778
                                           700 Milam, Suite 1300
                                           Pennzoil Place
                                           Houston, Texas 77002
                                           Telephone: (832) 819-1149
                                           Facsimile: (866) 405-6038
                                           Email: mhaselden@haseldenfarrow.com

                                           SUBCHAPTER V TRUSTEE




                                       4

34580318v.1
        Case 22-60043 Document 285 Filed in TXSB on 11/21/22 Page 5 of 5




                                 CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing Subchapter V First Interim Status Report
was served on the following parties in interest via ECF November 21, 2022:



                                                       /s/ Melissa A. Haselden
                                                       Melissa A. Haselden




                                                  5

34580318v.1
